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James W. Cunningham
Jim Cunningham & Associates, Inc.
6412 Sondra Drive
Dallas Texas 75214-3451
(214) 827-9112

Trustee

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                           §
                                                 §
THE NATIONAL CENTER FOR POLICY ANALYSIS          §                   CASE NO. 18-30453-SGJ7
                                                 §
     DEBTOR                                      §


                                    TRUSTEE INTERIM REPORT

          A Trustee’s Final Report and Report of Proposed Distribution has been delivered to the

U.S. Trustee’s office on 10/22/2020 for review. The U.S. Trustee policy is to file the report

within 60 days of receipt.




                                                      RESPECTFULLY SUBMITTED,


                                                        /s/ James W. Cunningham
                                                      Chapter 7 Bankruptcy Trustee




TRUSTEE INTERIM REPORT
